CaS€ 1-18-01014-€88 DOC 1 Filed 02/05/18 Entered 02/05/18 14229:55

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

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in re: Gratitude Migration, Inc., Case No. 18-40167 - ess

Debtor Chapter 7
_______________________________________________________ X
Arch Production and Design Nyc, Inc.,

Plaintiff,

Ad. Proc. No.
against

Gratitude Migration, Inc.,

Defendant.

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COMPLAINT IN AN ADVERSARY PROCEEDING

PLAINTIFF Arch Production and Design Nyc lnc. (hereinafter, “Arch”) complaining of

the Debtor Gratitude Migration, Inc., hereby alleges upon information and belief:

l. This cases arises under F ederal Rule of Bankruptcy Procedure 7001(1) and (9).

2. Arch is a New York corporation With an address at 200 Corporate Drive, Suite l,
Blauvelt, New York l09l3.

3. The Debtor is Withholding from Arch certain personal property consisting of two
trailers registered in Arch’s name with the New York State Department of Motor
Vehicles.

4. That the Debtor claims the said property as property of the estate in the Debtor’s
schedules (See Petition, Part 5, item 39).

5. That said property is the property of Arch.

CaS€ 1-18-01014-€88 DOC 1 Filed 02/05/18 Entered 02/05/18 14229:55

6. That said property is located, upon information and beliet`, in a storage facility in
the State of New Jersey and is of no benefit to the estate.
7. That Arch does not know and is unaware of the condition of said property.
WHEREFORE. Arch demands judgment for the turnover of the aforementioned property
to Arch, damages as a result of any mistreatment of the same and a declaration that said property

is not property of the estate.

Dated: NeW York, New Yorl<
February 1, 2018

LAW OFFICE OF RO%{;lL./GCB'MENICK, P.C.

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